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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 JADA WALKER, Individually and as                  )   CASE NO.: 5:23-CV-01205
 Administratrix of the Estate of JAYLAND           )
 WALKER, deceased,                                 )   JUDGE: JUDGE JOHN R. ADAMS
                                                   )
         Plaintiff,                                )   STIPULATION FOR DISMISSAL AND
                                                   )   JOURNAL ENTRY
 vs.                                               )
                                                   )
 CITY OF AKRON, OHIO, et al.,                      )
                                                   )
         Defendants.                               )

        We, the attorneys for the respective parties, do hereby stipulate that the above captioned

matter has been settled and that it be dismissed, with prejudice, as against all Defendants, each

party to bear their owns costs. The Court may enter an Order accordingly, notice by the Clerk

being hereby waived. The Court to retain jurisdiction over the enforcement of this settlement.

        IT IS SO ORDERED.


                                                         JUDGE JOHN R. ADAMS



 /s/ Kenneth Abbarno (per email consent 2/23/25)       /s/ John T. McLandrich                 .
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 KENNETH ABBARNO (0059791)                             EDMOND Z. JABER (0096355)
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                                                      Counsel for Defendants




                                  CERTIFICATE OF SERVICE

       I hereby certify that on February 25, 2025, the foregoing Stipulation for Dismissal and

Journal Entry was filed electronically. Notice of this filing will be sent to all registered parties by

operation of the Court’s electronic filing system. Parties may access this filing through the Court’s

system.

                                               s/John T. McLandrich
                                               JOHN T. MCLANDRICH (0021494)
                                               EDMOND Z. JABER (0096355)

                                               Counsel for Defendants




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